
John M’Clean brought an action of debt in the District Court of Petersburg, against Pickard Taylor Sy Co. on a bond for the payment of sterling money. The plea, was payment, and the jury found a general verdict for the plaintiff; on which, judgment was rendered for the debt in the declaration mentioned. To this judgment.a supersedeas was awarder!, and the errors assigned were, 1. That no damages were laid in the declaration, or found by the verdict. 2. That the Court had made no rule fixing the sum' in current money, with which the judgment for ster» *482ling money might be discharged. The first error assigned was abandoned.*
On the second, it was contended for the defendant in error, that the rale, stating the sum in current money by which a judgment in sterling should be discharged, formed no part of the judgment itself. It was usually entered at the close of a term, and was applied, to each particular judgment, by the Clerk. The judgment, therefore, was not erroneous, and ought not to be reversed. An instruction to the Sheriff how to serve the execution, was alone necessary; and, that might be obtained at the succeeding term, before the Clerk could issue the execution, should the judgment be affirmed.
But the Court reversed the judgment, for this defect.

[* See Lyons, J. in Payne v. Ellzey, 2 Wash. 145.]

